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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION


LONE STAR TECHNOLOGICAL           §
INNOVATIONS, LLC                  §
                                  §
V.                                §     CIVIL NO. 6:19-cv-00059
                                  §
ASUS COMPUTER INTERNATIONAL, §
et al                             §
________________________________________________________________________

                     MINUTES FOR THIRD DAY OF TRIAL
                HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                               MAY 19, 2021

OPEN: 9:00 a.m.                                    ADJOURN: 5:57 p.m.
________________________________________________________________________

ATTORNEYS FOR PLAINTIFF:           John Saba, Joshua Bennett, Bradley Liddle, Monica Litle and
                                   John Lee

ATTORNEYS FOR DEFENDANT: Vinay Joshi and Andrew Oliver

LAW CLERK:                         Jonathan Powers

COURTROOM DEPUTY:                  Betty Schroeder

COURT REPORTER:             Kate McAlpine
________________________________________________________________________

9:00 a.m.   Outside the presence of the jury, Mr. Bennett advises the Court they will have
            charge to the Court after lunch and possible sidebar that may need to take place;
            Court responds

9:02 a.m.   Jury seated

9:03 a.m.   Mr. Saba continues with direct examination of Dr. Ducharme

9:15 a.m.   Mr Joshi begins cross examination of Dr. Ducharme

9:25 a.m.   Objection by Mr. Saba; Court - rephrase the question
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9:25 a.m.    Objection by Mr. Saba; Court - overruled

9:26 a.m.    Objection by Mr. Saba; Court - overruled

9:38 a.m.    Objection by Mr. Saba; Court - overruled

9:47 a.m.    Objection by Mr. Saba; Mr. Joshi responds; Court responds

9:56 a.m.    Objection by Mr. Saba; Court - rephrase the question

10:09 a.m.   Objection by Mr. Saba; Court - sustained - jury will ignore the last statement

10:10 a.m.   Recess

10:28 a.m.   Outside the presence of the jury, Mr. Joshi informs the Court he will be using the
             source code; Court responds; Mr. Bennett argues for mistrial or curative instruction
             on redirect; Mr. Joshi responds; Court responds - will deny the request for mistrial
             and will either give curative instruction or Mr. Saba can read the rest of the order;
             Mr. Bennett would like the curative instruction to be given

10:35 a.m.   Jury seated

10:38 a.m.   Objection by Mr. Saba; Mr. Joshi responds; Court - overruled

10:44 a.m.   Courtroom sealed

10:53 a.m.   Objection by Mr. Saba; Court - rephrase the question

11:12 a.m.   Objection by Mr. Saba; Court - rephrase the question

11:19 a.m.   Objection by Mr. Saba; Court - sustained

11:22 a.m.   Courtroom unsealed

11:25 a.m.   Objection by Mr. Saba; Mr. Joshi responds; Court responds

11:27 a.m.   Objection by Mr. Saba; Court - overruled

11:33 a.m.   Objection by Mr. Saba; Court responds

11:41 a.m.   Objection by Mr. Saba; Court responds

11:44 a.m.   Objection by Mr. Saba; Court responds

11:45 a.m.   Objection by Mr. Saba; Court responds
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11:59 a.m.   Objection by Mr. Saba; Court - sustained

12:02 p.m.   Objection by Mr. Saba; Court - sustained

12:04 p.m.   Objection by Mr. Saba; Court - sustained

12:04 p.m.   Court questions Mr. Joshi; Mr. Joshi responds

12:05 p.m.   Jury excused

12:06 p.m.   Outside the presence of the jury, Court and parties discuss the preferred
             embodiment questions and curative instructions; charge will be due by 6:00 p.m.

12:15 p.m.   Recess

1:09 p.m.    Outside the presence of the jury, the Court and parties discuss the curative
             instructions to be given; Court denies as moot Plaintiff’s Motion for New Trial (dkt.
             #214)

1:16 p.m.    Jury seated

1:16 p.m.    Mr. Joshi continues with cross examination of Dr. Ducharme

1:33 p.m.    Objection by Mr. Saba; Court - lay a foundation

1:37 p.m.    Objection by Mr. Saba; Mr. Joshi responds; Court - overruled

1:45 p.m.    Mr. Saba begins redirect examination of Dr. Ducharme

1:51 p.m.    Objection by Mr. Joshi; Mr. Saba responds; Court - overruled

1:54 p.m.    Objection by Mr. Joshi; Court - overruled

2:02 p.m.    Mr. Joshi begins recross examination of Dr. Ducharme

2:09 p.m.    Mr. Saba continues with redirect examination of Dr. Ducharme

2:10 p.m.    Objection by Mr. Joshi; Court - rephrase the question

2:10 p.m.    Objection by Mr. Joshi; Court - overruled

2:10 p.m.    Objection by Mr. Joshi; Court - lay a foundation

2:11 p.m.    Objection by Mr. Joshi; Court - overruled
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2:12 p.m.   Objection by Mr. Joshi; Court - lay a foundation

2:14 p.m.   Mr. Joshi continues with recross examination of Dr. Ducharme

2:17 p.m.   Court gives curatives instructions to the jury

2:19 p.m.   Jury excused

2:19 p.m.   Outside the presence of the jury, Court and parties discuss objections to the
            demonstratives or slides to be used with the next witness

2:31 p.m.   Recess

2:47 p.m.   Jury seated

2:47 p.m.   Mr. Bennett calls Glenn Perdue; witness sworn in

2:48 p.m.   Mr. John Lee begins direct examination of Mr. Perdue

2:55 p.m.   Mr. Lee offers Mr. Perdue as an expert in damages; no objections

2:57 p.m.   Objection by Mr. Oliver; Mr. Lee responds; Court - overruled

3:17 p.m.   Objection by Mr. Oliver; Court - rephrase the question

3:44 p.m.   Objection by Mr. Oliver; Court - lay a foundation

3:51 p.m.   Objection by Mr. Oliver; Mr. Lee responds; Court - overruled; Mr. Oliver requests a
            standing objection; no objection from Mr. Lee for a standing objection

3:58 p.m.   Objection by Mr. Oliver; Court - overruled

4:08 p.m.   Mr. Oliver begins cross examination of Mr. Perdue

4:21 p.m.   Objection by Mr. Lee; Mr. Oliver responds; Court - overruled

4:30 p.m.   Objection by Mr. Lee; Court - sustained

4:35 p.m.   Objection by Mr. Lee; Court - rephrase the question

4:37 p.m.   Objection by Mr. Lee; Court - sustained

4:41 p.m.   Objection by Mr. Lee; Mr. Oliver responds; Court - overruled

4:55 p.m.   Objection by Mr. Lee; Court - overruled
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5:23 p.m.   Objection by Mr. Lee; Court - overruled

5:40 p.m.   Jury excused

5:41 p.m.   Outside the presence of the jury, Court would like a new set of jury instructions and
            a joint verdict form by 10:00 a.m. tomorrow; will have charge conference at the end
            of the day tomorrow; Mr. Bennett advises that the Plaintiff will rests after the
            testimony of Mr. Perdue; Court does not want to make the jury wait in regards to
            hearing JMOLs - can hear them either in the morning, during breaks or at the end of
            the day; Mr. Joshi addresses the Court regarding Dr. Stevenson’s testimony; Mr.
            Bennett responds; Court responds; will deal with exhibits in the morning; Mr. Oliver
            moves the Court to reconsider the argument made at claim construction and to
            clarify the claim construction; Court requests that Mr. Oliver submit a short brief by
            10:00 p.m. tonight and a response by Plaintiff by 10:30 a.m. tomorrow; Court and
            parties discuss time remaining and schedule

5:57 p.m.   Recess
